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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )               CASE NO. 8:07CR47
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )                MEMORANDUM
                                              )                 AND ORDER
YOLANDA DEZERRA LOUIS,                        )
                                              )
              Defendant.                      )

       This matter is before the Court on the Defendant’s motion for a reduction of her

sentence (Filing No. 108) in light of Amendment 706 that resulted in a lowering of the crack

cocaine guidelines. The Amendment took effect on November 1, 2007.

       The Eighth Circuit has stated that a career offender is not eligible for a reduction in

sentence under Amendment 706. See, e.g., United States v. Blackmon, 584 F.3d 1115,

1116 (8th Cir. 2009), cert. denied, 130 S. Ct. 2417 (2010). The Defendant was sentenced

as a career offender.

       IT IS ORDERED:

       1.     The Defendant’s motion for a reduction of her sentence (Filing No. 108) is

              denied; and

       2.     The Clerk is directed to mail a copy of this order to the Defendant at her last

              known address.

       DATED this 10th day of March, 2011.

                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  United States District Judge
